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 7
 8                UNITED STATES DISTRICT COURT
 9               SOUTHERN DISTRICT OF CALIFORNIA
10
     UNITED STATES OF AMERICA,  )   Case No.: 20CR1566-DMS
11                              )
                      Plaintiff,)   FINDINGS AND RECOMMENDATION
12                                  OF THE MAGISTRATE JUDGE
                                )
     v.                             UPON A PLEA OF GUILTY
13                              )
     Melinda Elizabeth Green,   )
14
                                )
15                              )
                      Defendant.)
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17
         Upon Defendant’s request to enter a guilty plea to
18
     Counts 1-2 of the Superseding Information pursuant to
19
     Rule 11 of the Federal Rules of Criminal Procedure,
20
     this matter was referred to the Magistrate Judge by the
21
     District Judge, with the consents of the Defendant,
22
     counsel for the Defendant, and counsel for the United
23
     States.
24
         Thereafter, the matter came on for a hearing on
25
     Defendant’s guilty plea, in full compliance with Rule
26
     11, Federal Rules of Criminal Procedure, before the
27
     Magistrate Judge, in open court and on the record.
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 1       In consideration of that hearing and the allocution
 2   made by the Defendant under oath on the record and in
 3   the presence of counsel, and the remarks of the
 4   Assistant United States Attorney,
 5       I make the following FINDINGS - that the Defendant
 6   understands:
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         1.   The government’s right, in a prosecution for
 8
              perjury or false statement, to use against the
 9
              defendant any statement that the defendant
10
11            gives under oath;
12       2.   The right to persist in a plea of “not guilty”;
13       3.   The right to a speedy and public trial;
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         4.   The right to trial by jury, or the ability to
15
              waive that right and have a judge try the case
16
              without a jury;
17
18       5.   The right to be represented by counsel-and if
19            necessary to have the court appoint counsel-at
20            trial and at every other stage of the
21
              proceeding;
22
         6.   The right at trial to confront and cross-
23
              examine adverse witnesses, to be protected from
24
25            compelled self-incrimination, to testify and
26            present evidence, and to compel the attendance
27            of witnesses;
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 1   7.   The defendant’s waiver of these trial rights if
 2        the court accepts a guilty plea or nolo
 3
          contendere;
 4
     8.   The nature of each charge to which the
 5
          defendant is pleading;
 6
 7   9.   Any maximum possible penalty, including
 8        imprisonment, fine, and term of supervised
 9        release;
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     10. Any applicable mandatory minimum penalty;
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     11. Any applicable forfeiture;
12
     12. The court’s authority to order restitution;
13
14   13. The court’s obligation to impose a special
15        assessment;
16   14. In determining a sentence, the court’s
17
          obligation to calculate the applicable
18
          sentencing guideline range and to consider that
19
          range, possible departures under the Sentencing
20
21        Guidelines, and other sentencing factors under
22        18 U.S.C § 3553(a);
23   15. The term of any plea agreement and any
24
          provision in that agreement that waives the
25
          right to appeal or to collaterally attack the
26
          conviction and sentence; and
27
28

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 1       16. That, if convicted, a defendant who is not a
 2            United States citizen may be removed from the
 3
              United States, denied citizenship, and denied
 4
              admission to the United States in the future.
 5
     I further find that:
 6
 7       17. The defendant is competent to enter a plea;
 8       18. The defendant’s guilty plea is made knowingly
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              and voluntarily, and did not result from force,
10
              threats or promises (other than those made in a
11
              plea agreement); and
12
13       19. There is a factual basis for Defendant’s plea.
14       I therefore RECOMMEND that the District Judge
15   accept the Defendant’s guilty plea to Count 1-2 of the
16
     Superseding Information.
17
         The sentencing hearing will be before United States
18
     District Judge Dana M. Sabraw, on 1/21/2022 at 9:00 AM.
19
20   The court excludes time from 9/27/2021 through
21   1/21/2022   pursuant to 18 USC § 3161(h)(1)(G) on the
22   ground that the District Judge will be considering the
23
     proposed plea agreement.
24
         Objections to these Findings and Recommendations
25
     are waived by the parties if not made within 14 days of
26
27   this order. If the parties waive the preparation of the
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                                                      20CR1566-DMS
 1   Presentence Report, objections are due within three
 2   days of this order.
 3
 4
     Dated: 9/27/2021
 5
                              Hon. Michael S. Berg
 6
                              United States Magistrate
 7                            Judge
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10   Copies to:
     Judge Dana M. Sabraw
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     Assistant United States Attorney
12   Counsel for Defendant
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